






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00138-CV






Beauty Signature Group, LLC, Appellant


v.


Farouk Systems, Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT

NO. D-1-GN-07-001260, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING



						

M E M O R A N D U M   O P I N I O N




		This appeal concerns a discovery dispute.  Appellant Beauty Signature Group, LLC,
has appealed from the trial court's interlocutory order compelling production, denying appellant's
motion to quash, and granting motion for protective order.

		This Court lacks jurisdiction over an appeal from an interlocutory order unless
jurisdiction is specifically provided by statute.  See Stary v. DeBord, 967 S.W.2d 352, 352-53
(Tex.&nbsp;1998); Jack B. Anglin Co., Inc. v. Tipps, 842 S.W.2d 266, 272 (Tex. 1992).  No statute
authorizes an interlocutory appeal from an order compelling production or an order denying a motion
to quash.  See Tex. Civ. Prac. &amp; Rem. Code Ann. §&nbsp;51.014 (West Supp. 2007) (providing for appeal
from certain interlocutory orders).  Accordingly, we dismiss this appeal for want of jurisdiction.




						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   March 28, 2008


